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                  EXHIBIT A
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                             No. 21-55957
 __________________________________________________________________

              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE NINTH CIRCUIT


                                    TRACY ALVES,

                                    Plaintiff-Appellee,

                                           v.

          RIVERSIDE COUNTY, RIVERSIDE COUNTY SHERIFF S DEPARTMENT,
         SHERIFF-CORONER CHAD BIANCO, DEPUTY SONIA GOMEZ, DEPUTY
                                BRIAN KEENEY

                                 Defendants-Appellants

            On Interlocutory Appeal from the United States District Court
                        for the Central District of California
                           No. 5:19-cv-02083-JGB-SHKx
                                Hon. Jesus G. Bernal



              PLAINTIFF-APPELLEE’S STATUS REPORT AND
                   RENEWED MOTION TO DISMISS

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                                   INTRODUCTION

        In this 42 U.S.C. § 1983 action, Plaintiff-Appellee Tracy Alves contends

 Defendants-Appellants Ri erside Count Sheriff s Deputies Sonia Gome and Brian

 Keeney held her brother prone after handcuffing, which resulted in his death by

 asphyxiation. Because the deputies followed policies, customs, and training of the

 entit defendants, Ri erside Count and the Ri erside Count Sheriff s Department,

 as implemented by Sheriff-Coroner Chad Bianco, Plaintiff-Appellee filed both

 individual claims against the deputies, subject to qualified immunity, and Monell and

 supervisory liability claims against the entities and Sheriff Bianco, which are not.

        The district court denied summary judgment, leading to this interlocutory

 appeal. The claim of qualified immunity of Deputies Gomez and Keeney arguably

 provided them interlocutory appellate jurisdiction under Mitchell v. Forsyth, 472 U.S.

 511, 526 (1985). Plaintiff-Appellee Alves moved to dismiss the deputies altogether,

 and to dismiss the appeal of the remaining parties based on lack of appellate

 jurisdiction. (Dkt. 7)

        This Court denied the motion without prejudice and remanded to the district

 court for the limited purpose of resolving Plaintiff-Appellee s pending ex parte

 application to dismiss Deputies Gomez and Keeney, and ordered Plaintiff-Appellee

 Alves to file a status report in this court and/or a motion for appropriate relief

  ithin 14 da s of the district court s ruling. Dkt. 15. On December 3, 2021, the




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 district court granted the ex parte application and dismissed Defendants-Appellants

 Sonia Gomez and Brian Keeney. Exhibit A (ECF No. 138).

        Because the district court dismissed the only parties asserting claims with

 interlocutory appellate jurisdiction, Plaintiff-Appellee Alves renews her motion to

 dismiss the balance of this interlocutory appeal, now prosecuted only by parties

 without claims subject to interlocutory appellate jurisdiction. Fed. R. App. P. 27(a)(1).

                                            ARGUMENT

        The District Court s denial of qualified immunity to Deputies Gomez and

 Keeney provides the only jurisdictional basis for this interlocutory appeal. As an

 affirmati e defense, qualified immunit s expressed purpose is to shield individual

 government officers from the burdens of litigation. Mitchell, 472 U.S. at 526. Without

 the individual defendants qualified-immunity claim, there is no pendent jurisdiction

 to review the issues raised by other parties: the denials of summary judgment to

 Riverside County, the Sheriff s Department, and Sheriff-Coroner Bianco.

        Qualified immunity does not apply to public entities. Dougherty v. City of Covina,

 654 F.3d 892, 900 (9th Cir. 2011). Sheriff-Coroner Bianco did not move for qualified-

 immunity at summary judgment, waiving interlocutory appellate review of the issue.

 See In re Mortg. Elec. Registration Sys., Inc., 754 F.3d 772, 780 (9th Cir. 2014). The district

 court s rulings den ing these defendants summary-judgment on the Monell,

 supervisory-liability, and supplemental state-law claims are not immediately



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 appealable. See Horton by Horton v. City of Santa Maria, 654 F.3d 592, 603 (9th Cir.

 2019); Liberal v. Estrada, 632 F.3d 1064, 1074 (9th Cir. 2011).

        Courts should extend pendent jurisdiction to parties and rulings that would not

 otherwise qualify for interlocutory appeal only where essential to the resolution of

 properly appealed collateral orders. Swint v. Swint v. Chambers Cty. Comm'n, 514 U.S. 35,

 51 (1995). Pendent party jurisdiction of an otherwise non-appealable ruling depends

 on that ruling being ine tricabl intert ined       ith one or more rulings with appellate

 jurisdiction. Wong v. United States, 373 F.3d 952, 960 (9th Cir. 2004). Meeting Swint s

 requirements for pendent appellate jurisdiction presents a very high bar. Rare is the

 ruling that is inextricably intertwined with or necessary to ensure meaningful review

 of decisions that are properly before us on interlocutory appeal. Poulos v. Caesars

 World, Inc., 379 F.3d 654, 669 (9th Cir. 2004).

        Given the dismissal of Deputies Gomez and Keeney, their qualified-immunity

 appeal is moot. The non-appealable rulings asserted by the remaining party

 defendants cannot be ine tricabl intert ined,        ith claims that no longer exist.

 Accordingly, there is no interlocutory appellate jurisdiction for any claim or party

 remaining.




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                                  CONCLUSION

       For the foregoing reasons, Plaintiff-Appellee Tracy Alves respectfully requests

 that Defendants appeal be dismissed.

 Respectfully submitted,

 Date: December 7, 2021
                                        HELM LAW OFFICE, PC

                                        /s/ T. Kennedy Helm, IV
                                        John Burton
                                        Dale K. Galipo
                                        Hang D. Le
                                        T. Kennedy Helm, IV

                                        Attorneys for Plaintiff-Appellee Tracy Alves




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                      UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT

        Form 17. Statement of Related Cases Pursuant to Circuit Rule 28-2.6


 9th Cir. Case Number(s) 21-55957

 The undersigned attorney or self-represented party states the following:

 [X] I am unaware of any related cases currently pending in this court.

 [ ] I am unaware of any related cases currently pending in this court other than the
     case(s) identified in the initial brief(s) filed by the other party or parties.

 [ ]     I am aware of one or more related cases currently pending in this court. The case
       number and name of each related case and its relationship to this case are:

 Signature /s/ T. Kennedy Helm, IV                Date December 7, 2021
         Case: 21-55957, 12/07/2021,
Case 5:19-cv-02083-JGB-SHK           ID: 12309449,
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                     EXHIBIT
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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES—GENERAL

    Case No.       EDCV 19-2083 JGB (SHKx)                         Date December 3, 2021
    Title Tracey Alves v. County of Riverside, et al.


    Present: The Honorable         JESUS G. BERNAL, UNITED STATES DISTRICT JUDGE


                  MAYNOR GALVEZ                                     Not Reported
                    Deputy Clerk                                    Court Reporter


       Attorney(s) Present for Plaintiff(s):             Attorney(s) Present for Defendant(s):

                       None                                             None

    Proceedings:      Order GRANTING Plaintiff’s Ex Parte Application (Dkt. No. 132)


          On September 8, 2021, Plaintiff filed an ex parte application for an order to certify
   Defendants County of Riverside and Sheriff Chad Bianco’s Appeal as Frivolous or Waived and to
   Drop or Sever Defendants Sonia Gomez and Brian Keeney Pursuant to Fed. R. Civ. P. 21. (“Ex
   Parte Application,” Dkt. No. 132.) Defendants opposed the next day, on September 9, 2021.
   (“Opposition,” Dkt. No. 133.) Defendants filed an amended opposition on November 30, 2021.
   (“Amended Opposition,” Dkt. No. 136.)

         The Court GRANTS Plaintiff’s ex parte application in part. The Court dismisses
   Defendants Sonia Gomez and Brian Keeney from this action.

   IT IS SO ORDERED.




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